                   Case 2:22-cv-01640-JNW Document 29 Filed 09/07/23 Page 1 of 5




 1                                                                         The Honorable Jamal Whitehead
 2

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 6

 7                                       UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WASHINGTON
 8                                                AT SEATTLE
 9 JOSHUA A. DIEMERT, an individual,

10                                      Plaintiff,              No. 2:22-CV-01640-JNW
11            v.                                                STIPULATED MOTION AND
                                                                [PROPOSED] ORDER TO EXTEND
12 THE CITY OF SEATTLE, a municipal                             ANSWER DEADLINE AND CONTINUE
   corporation,                                                 TRIAL DATE AND RELATED
13                                                              DEADLINES
                      Defendant.
14                                                              Noting Date: September 7, 2023
15

16                                                   STIPULATED MOTION

17            Plaintiff Joshua A. Diemert (“Plaintiff”) and Defendant The City of Seattle (“Defendant”)

18 jointly move the Court to amend the Order Setting Trial Date and Related Deadlines and Trial Date

19 (Dkt. No. 25) and extend the trial date and related deadlines in this case. In support of this

20 Stipulated Motion, the Parties state the following:

21            1.        Plaintiff filed the Complaint in this matter on November 16, 2022. Dkt. 1. Plaintiff

22 filed an Amended Complaint and served Defendant with same on January 19, 2023. Dkt. 10-11.

23            2.        On March 10, 2023, Defendant moved for dismissal of Plaintiff’s claims pursuant to

24 Federal Rule of Civil Procedure 12(b)(6). Dkt. 16. That motion was noted for April 7, 2023. While

25 the motion was pending, the Parties refrained from actively litigating this matter, in the interest of

26 efficiency.

27            3.        On April 4, 2023, this matter was reassigned from Judge Lauren King to Judge

     STIPULATED MOTION AND [PROPOSED] ORDER TO EXTEND ANSWER                        Davis Wright Tremaine LLP
     DEADLINE AND CONTINUE TRIAL DATE AND RELATED DEADLINES - 1                              L A W O F FI CE S
                                                                                       920 Fifth Avenue, Suite 3300
     (Case 2:22-CV-01640-JNW)                                                            Seattle, WA 98104-1610
     4891-9687-4876v.2 0002348-000031                                             206.622.3150 main ꞏ 206.757.7700 fax
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 1 Jamal Whitehead.

 2            4.        On June 16, 2023, the Court entered the Order Setting Trial Date and Related

 3 Deadlines, setting the trial for April 29, 2024 and setting interim case deadlines. Dkt. 25.

 4            4.        The Court issued an Order granting in part and denying in part Defendant’s Motion

 5 on August 28, 2023. Dkt. 28.

 6            5.        The Parties have conferred and hereby jointly request an extension of the trial date

 7 by a period of four months, which is commensurate with the period of time during which the

 8 Defendant’s motion remained pending between its original noting date and the date of the Court’s

 9 order. The Parties also request that the other unexpired pretrial deadlines be extended consistent

10 with the extension of the trial date.

11            6.        In addition, Defendant has requested to extend the September 11 deadline for

12 Defendant’s Answer to the Complaint, triggered by the Court’s August 28, 2023 Order, to

13 September 21, 2023, and Plaintiff has agreed.

14            7.        For the foregoing reasons, the Parties jointly therefore respectfully request that the

15 Court modify the Case Scheduling Order and continue the trial date, pretrial deadlines, and Answer

16 deadline in this matter as follows, or to similar dates in accordance with the Court’s availability:

17

18              Event                                           Revised Date

19              Answer to Complaint                             September 21, 2023

20              Deadline for filing amended pleadings           February 2, 2024
                Disclosure of expert testimony under
21                                                              February 2, 2024
                Fed. R. Civ. P. 26(a)(2)
22              Disclosure of rebuttal expert testimony         Within 30 days after the other party’s
                under Fed. R. Civ. P. 26(a)(2)                  expert disclosure
23              All motions related to discovery must be
                filed                                           March 1, 2024
24
                Discovery completed by                          April 1, 2024
25              All dispositive motions and motions
                challenging expert witness testimony            May 2, 2024
26
                must be filed by
27

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                Settlement conference under LCR 39.1, if
 1              requested by the parties, held no later     June 29, 2024

 2              than
                All motions in limine must be filed by
                                                            July 22, 2024
 3
                Deposition Designations must be
                submitted to the Court by                   August 8, 2024
 4
                Agreed pretrial order due
 5                                                          August 8, 2024
                Trial briefs, proposed voir dire questions,
 6              and proposed jury instructions must be      August 15, 2024
                filed by
 7
                Pretrial conference                            August 22, 2024
 8
                Trial Date                                     September 3, 2024
 9

10
              The Parties suggest this proposed schedule, recognizing that availability on the Court’s trial
11
     calendar may be limited. Should the above-proposed dates be inconvenient for the Court, the
12
     Parties respectfully request a similar extension of the deadlines in this case to dates that suit the
13
     Court’s schedule and convenience.
14

15            STIPULATED this 7th day of September, 2023.

16    PACIFIC LEGAL FOUNDATION                             DAVIS WRIGHT TREMAINE LLP
      Attorneys for Plaintiff Joshua A. Diemert            Attorneys for Defendant The City of Seattle
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 1                                         [PROPOSED] ORDER

 2            The Parties jointly moved the Court for an extension of discovery and other deadlines.

 3 The discovery deadlines are extended to the following dates:

 4              Event                                      Revised Date

 5              Answer to Complaint                        September 21, 2023

 6              Deadline for filing amended pleadings      February 2, 2024
                Disclosure of expert testimony under
 7                                                         February 2, 2024
                Fed. R. Civ. P. 26(a)(2)
 8              Disclosure of rebuttal expert testimony    Within 30 days after the other party’s
                under Fed. R. Civ. P. 26(a)(2)             expert disclosure
 9              All motions related to discovery must be
                filed                                      March 1, 2024
10
                Discovery completed by                      April 1, 2024
11              All dispositive motions and motions
                challenging expert witness testimony        May 2, 2024
12
                must be filed by
13              Settlement conference under LCR 39.1, if
                requested by the parties, held no later     June 29, 2024
14              than
                All motions in limine must be filed by
15                                                          July 22, 2024
                Deposition Designations must be
16                                                          August 8, 2024
                submitted to the Court by
17              Agreed pretrial order due
                                                            August 8, 2024
18              Trial briefs, proposed voir dire questions,
                and proposed jury instructions must be      August 15, 2024
19              filed by
20              Pretrial conference                        August 22, 2024
21              Trial Date                                 September 3, 2024
22

23            IT IS SO ORDERED.
24            Dated this _____ day of _______________, 2023.
25
                                                   The Honorable Jamal Whitehead
26
                                                   United States District Court Judge
27

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